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                      IN THE UNITED STATES DISTRICT COURT FOR
                          THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION ALABAMA

 FRANCES WENTZ,                                    )
                                                   )
         Plaintiff,                                )
                                                   )
 v.                                                )     Civil Action No.: 2:17-cv-00657-GMB
                                                   )
BURLINGTON COAT                                    )
FACTORY DIRECT                                     )
CORPORATION,                                       )
 and Fictitious Defendants                         )
“A,” “B,” and “C,” whether singular or             )
plural, those other persons, corporations,         )
firms or other entities whose wrongful             )
conduct caused or contributed to cause             )
injuries and damages to Plaintiff, all             )
of whose true and correct names are                )
unknown to Plaintiff at this time, but will        )
be added by amendment when                         )
ascertained,                                       )
                                                   )
Defendants.                                        )



                                    AMENDED COMPLAINT


                                STATEMENT OF JURISDICTION

         Plaintiff, Frances Wentz, by and through the undersigned attorney, allege upon

 information and belief as to all other matters, that the cause of action is based on premises liability

 within the limits of Montgomery County, Alabama.

                                    STATEMENT OF PARTIES

1.     Plaintiff, Frances Wentz, is over the age of majority and is a resident citizen of

Montgomery County, Alabama.


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2.      Upon best information and belief, Defendant Burlington Coat Factory Direct Corporation

(hereinafter “Burlington” or “Defendant”) is a foreign corporation organized under the laws of the

State of New Jersey and is doing business in the State of Alabama. Burlington’s registered agent

is Corporation Service Company, 641 South Lawrence Street, Montgomery, Alabama 36104.

Service of process is proper to Ruth Daley, Gallagher Bassett, 2915 Premiere Parkway, Suite 350,

Duluth, Georgia 30097.

3.      Fictitious Defendants “A,” “B,” and “C,” whether singular or plural, are those other persons,

firms, corporations, or other entities whose wrongful conduct caused or contributed to the cause of

the injuries and damages to the Plaintiff, all of whose true and correct names are unknown to the

Plaintiff at this time, but will be substituted by amendment when ascertained.

4.      Unless otherwise specified, the term “Defendants” as used hereafter shall collectively refer

to Burlington and Fictitious Defendants “A-C.”

                      COUNT I – NEGLIGENCE AND WANTONNESS

5.      On or about September 26, 2015, Plaintiff, Frances Wentz was an invitee of Burlington, an

apparel and home product retailer, located at 5445 Atlanta Highway, Montgomery, Alabama 36109.

6.      On said date and time, Defendant Burlington and Defendant Collins negligently and/or

wantonly caused or allowed a dangerous condition to exist and failed to warn Plaintiff that the

dangerous condition existed and had existed for some time, i.e. an improperly raised square tile

on the floor. As a result of Defendants’ negligence and/or wantonness in allowing the dangerous

condition to exist, Plaintiff was caused to trip and fall down and sustain injuries.

7.      Defendants had actual or constructive notice that the dangerous condition existed and failed

to remedy and/or make safe the same resulting in Plaintiff’s injuries. Further, Plaintiff was not aware

of the dangerous condition and was not warned of said dangerous condition by Defendants.



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8.      More specifically, Defendants breached their lawful duty owed to Plaintiff, as an invitee,

in failing to exercise reasonable care and maintenance of the area, which resulted in the aforesaid

injury to the Plaintiff. In addition, Defendants failed to remedy the dangerous condition, which

existed on the premises by allowing no markings in the area where an invitee would walk and

without giving Plaintiff warning of danger.

9.      As a proximate consequence of the Defendants’ negligence and/or wantonness, the

Plaintiff was caused to suffer the following injuries and damages: cervical and lumbar injuries; a

total right hip arthroplasty, lameness and soreness; medical expenses; mental anguish and

emotional distress; and permanent injuries and damages.

        WHEREFORE, as a direct and proximate result of such negligent, grossly negligent,

wanton, reckless, malicious, and/or intentional conduct, Plaintiff asserts a claim for judgment for

all compensatory damages and punitive damages against Defendant Burlington, Defendant

Collins, and all fictitious party Defendants, plus costs and other relief to which Plaintiff is entitled

by law in an amount less than $75,000.00.

                                             COUNT II
                                      (Fictitious Defendants)

10.     Plaintiff re-alleges all prior paragraphs of the Complaint as if set out here in full.

11.     Fictitious Defendants “A,” “B,” and “C,” are also liable under the foregoing counts and

theories.

12.     As a proximate consequence of the negligence, Plaintiff was injured and damaged as alleged

in the foregoing paragraphs.

        WHEREFORE, as a direct and proximate result of such negligence, grossly negligent,

wanton, reckless, malicious, and/or intentional conduct, Plaintiff asserts a claim for judgment for

all compensatory damages and punitive damages against Defendant Burlington, Defendant


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Collins, and all fictitious party Defendants, plus costs and other relief to which Plaintiff is entitled

by law in an amount no greater than $75,000.00.

                                                         Respectfully Submitted,

                                                         /s/ Charles James, II
                                                         CHARLES JAMES, II (JAM028)
                                                         Attorney for Plaintiff

 OF COUNSEL:
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 Defendants may be served at:

 Ruth Daley
 Gallagher Bassett
 2915 Premiere Parkway, Suite 350
 Duluth, Georgia 30097




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